  Case 2:09-cr-20133-JWL        Document 602      Filed 01/04/11     Page 1 of 9




                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,              )
                                       )
                 Plaintiff,            )
                                       )
      v.                               )                Case No. 09-20133-JWL
                                       )
GLADSTONE MCDOWELL, et al.,            )
                                       )
                 Defendants.           )
                                       )
_______________________________________)


                         MEMORANDUM AND ORDER

       The matter is presently before the Court on motions by defendants Gladstone

McDowell (Doc. ## 351, 440) and Michael Francois (a/k/a Curtis Pitter) (Doc. # 361)

to suppress evidence obtained from certain wiretaps. Defendants Samora McIntosh (in

Doc. # 363) and Radell Bradford (in Doc. #477) have also joined in these motions to

suppress. The Court heard argument on these motions at a hearing on October 19, 2010,

and the motions are set for an evidentiary hearing on January 31, 2011. This Order

addresses the scope of that evidentiary hearing, and specifically whether defendants are

entitled to an evidentiary hearing under Franks v. Delaware concerning whether the

applications for the wiretap orders contained material misrepresentations or omissions.

For the reasons set forth below, the Court concludes that defendants have not made a

substantial showing to warrant a Franks hearing; accordingly, the motions to suppress

are denied as they relate to misrepresentations or omissions.
  Case 2:09-cr-20133-JWL        Document 602       Filed 01/04/11    Page 2 of 9




       Defendants contend that the wiretap evidence should be suppressed because the

applicants for the wiretap violated Title III’s requirement of “a full and complete

statement” regarding necessity by making misleading or false statements or omissions

in their affidavits. See 18 U.S.C. § 2518(1)(c). The Court ruled at the October 19

hearing that, although defendants assert a statutory violation separate from any possible

Fourth Amendment violation, the issue is governed by the analysis set forth by the

Supreme Court in Franks v. Delaware, 438 U.S. 154 (1978). The Tenth Circuit has

described that analysis as follows:

       Under Franks, a hearing on the veracity of the affidavit supporting a
       warrant is required if the defendant makes a substantial showing that the
       affidavit contains intentional or reckless false statements and if the
       affidavit, purged of its falsities, would not be sufficient to support a
       finding of probable cause. If the defendant establishes at the evidentiary
       hearing by a preponderance of the evidence that the false statement was
       included in the affidavit by the affiant “knowingly and intentionally, or
       with reckless disregard for the truth,” and the false statement was
       “necessary to the finding of probable cause,” then the Supreme Court has
       ruled that the search warrant must be voided and the fruits of the search
       excluded to the same extent as if probable cause was lacking on the face
       of the affidavit. In addition, we have ruled that the standards of
       “deliberate falsehood” and “reckless disregard” set forth in Franks apply
       to material omissions, as well as affirmative falsehoods.

United States v. Kennedy, 131 F.3d 1371, 1376 (10th Cir. 1997) (citations and internal

quotations omitted); see also United States v. Artez, 389 F.3d 1106, 1116 (10th Cir.

2004) (in attempting to make substantial showing to warrant a Franks hearing,

“[a]llegations of negligence or innocent mistake are insufficient”). Thus, before an

evidentiary hearing may be granted, defendants bear the burden of making a substantial


                                           2
  Case 2:09-cr-20133-JWL         Document 602       Filed 01/04/11     Page 3 of 9




showing that (1) the application contained misrepresentations or omissions; (2) that they

were made intentionally or recklessly; and (3) that they were material, that is, that the

warrant would not have issued in their absence.

       As a preliminary matter, the Court notes that defendants have failed to submit any

affidavits (other than the application affidavits) or other documentary evidence to

support their argument that the affidavits contained material omissions, instead asking

the Court to accept their explanation of the relevant evidence obtained in discovery. The

Court could deny defendants a Franks hearing solely based on that failure. See Artez,

389 F.3d at 1116 (allegations in support of a Franks hearing “must be accompanied by

an offer of proof,” and “[a]ffidavits of witnesses should be provided to the court or their

absence satisfactorily explained”). Even if defendants’ arguments were properly

supported by affidavits or other evidence, however, the Court would still conclude that

defendants’ have not made a sufficient showing to warrant a Franks hearing, for the

following reasons.

       1.     Defendants cite five omissions from the affidavits. First, defendants argue

that the affidavits should have included the results of the execution of eight warrants on

e-mail accounts. The Court denies suppression based on that omission. Defendants have

not stated (or provided evidence of) what those results were; thus, defendants have not

identified the omitted information, and the Court cannot determine whether any omission

was material. Moreover, the affidavits did include information that the members of the

target drug-trafficking organization were technologically savvy, and there is no basis to

                                            3
  Case 2:09-cr-20133-JWL         Document 602       Filed 01/04/11     Page 4 of 9




conclude that the use of the e-mail warrants provided information concerning the

organization’s scope, membership, sources, suppliers, customers, and so on, such that

the wiretaps were rendered unnecessary. Finally, there is no basis to conclude that this

omission was made intentionally or recklessly.

       2.     Defendants next take issue with the statement in the affidavits that

confidential sources could not be used to obtain the desired information. Defendants

argue that this portion of the affidavits omitted any reference to a confidential source

designated CS1. Defendants also argue that the affidavits are at least misleading because

CS1 had indicated to authorities (as noted elsewhere in the affidavits) that he could be

connected to a drug source for the organization.

       The Court rejects these arguments. Most significantly, there was no omission

here, as the affidavits did include information concerning CS1 and his statements to

authorities. Defendants may disagree with the conclusions that CS1 could not be used

to infiltrate the drug-trafficking organization and that wiretaps were therefore necessary,

but that disagreement does not raise an issue of misrepresentation or omission. In

addition, the information in the affidavits did not indicate that CS1 could be sufficiently

connected to a source; rather, CS1 told authorities that a member of the organization had

stated that he could set up an account for CS1 with a source so that CS1 could get direct

shipments of marijuana in the mail. That information does not suggest that CS1 would




                                            4
  Case 2:09-cr-20133-JWL         Document 602        Filed 01/04/11     Page 5 of 9




have had access to that source.1 Furthermore, the affidavits explained specifically why

it would have been difficult to find a confidential source to infiltrate this organization

that included many members of the same families. Thus, defendants have not shown that

CS1 could in fact have been used to gain enough information to make the wiretaps

unnecessary. Finally, in light of the fact that the affidavits did include information

concerning CS1, there is no basis to find the requisite intent with respect to this alleged

omission.

       3.     Defendants also find fault with the portion of the affidavits relating to the

inability to use an undercover agent to infiltrate the target organization. Defendants

argue that, in light of the existence of CS1, the affidavits were misleading in stating that

there was no confidential source to introduce an undercover agent into the organization.

The Court rejects this argument for the same reasons stated above with respect to the

references to CS1 in the affidavits.

       Defendants also point to the omission from the affidavits of information that Mr.

McDowell himself had purchased narcotics from an undercover agent in 1995, and they

argue that such information is relevant to the determination of whether an undercover

agent could have been used to infiltrate the organization, thereby making wiretaps of Mr.

McDowell’s telephone unnecessary. The 1995 incident occurred many years ago,


       1
        In its brief, the Government states that CS1 could not be used effectively because
he had recently been arrested and was under indictment, which would make it unlikely
that he would be trusted by the organization with sensitive information; the Government
has not cited to any evidence of that fact, however.

                                             5
  Case 2:09-cr-20133-JWL        Document 602        Filed 01/04/11    Page 6 of 9




however, and defendants have not provided any information to show that the

circumstances were similar then, and the affidavits set forth specific reasons why the use

of undercover agents would not have been effective here. Thus, defendants have not

made a substantial showing that the omission of information about the undercover sale

to Mr. McDowell in 1995 was material, such that the wiretap orders would not have been

issued in the face of such information. Moreover, given the lack of any apparent

connection between the 1995 incident and the present investigation, there is no basis to

conclude that the omission was intentional or reckless. For these reasons, the Court

concludes that defendants have not made the requisite showing with respect to this

omission.

       4.     Defendants next cite the portion of the affidavits relating to surveillance

conducted by authorities. Specifically, defendants point to statements that “fixed

surveillances, video surveillance, mobile and aerial surveillance” were conducted and

that “number physical surveillances” were conducted, and they argue that such

statements gave the false impression that surveillance was extensive. Defendants argue

that documents obtained in discovery reveal only nine instances of documented

surveillance operations, and that no video or aerial surveillance was conducted.

       The Court rejects this argument. First, the Court does not find the affidavits to

be misleading in this regard. The affidavits were specific with respect to the details of

the investigation of the target organization, and viewed in their entirety, the affidavits

do not suggest that other unmentioned operations were extensive. For instance, in

                                            6
  Case 2:09-cr-20133-JWL          Document 602        Filed 01/04/11      Page 7 of 9




setting forth the reasons why the use of traditional investigative techniques was

unavailing, the affidavits state that “[t]raffic stops, surveillances, and similar interdiction

activities” were conducted on 12 specific dates; thus, the affidavits do not falsely suggest

that there were a lot more surveillance operations than the nine documented operations

cited by defendants.

       In addition, the affidavits explained specifically why surveillance alone could not

provide the necessary information about the target organization. For instance, the

affidavits noted that the members had become “evasive and unusually cautious in their

movements” and that although surveillance could provide some information, it could not

provide desired information concerning the scope of the organization. Therefore,

defendants have not shown that the wiretap orders would not have issued (thereby

making the omission material) if the affidavits had stated that there were only nine

documented instances of surveillance.2 Finally, in light of the detail in the affidavits

concerning the investigation that had been conducted, the Court cannot conclude that this

omission was intentional or reckless.

       5.      Finally, defendants complain that the affidavits made reference to

“numerous attempts” to conduct trash searches, when in fact such attempts were made

only at two addresses. Defendants’ primary complaint in this regard appears to be that



       2
        The Government disputes that no aerial or video surveillance was conducted, and
it argues that not all surveillances were documented, but they have not provided evidence
to support such arguments.

                                              7
  Case 2:09-cr-20133-JWL        Document 602        Filed 01/04/11    Page 8 of 9




the agents should not have abandoned that technique, but that argument goes toward the

necessity determination and does not raise an issue of omission. The affidavits

accurately described the attempts to conduct trash searches at the two addresses, in the

context of explaining why additional searches would not further and could jeopardize the

investigation. Moreover, there is no basis to conclude that any misstatement or omission

in this regard was made intentionally or recklessly.

       For these reasons, the Court concludes that defendants have failed to make a

substantial showing that the affidavits contained any material misrepresentations or

omissions made intentionally or recklessly. Accordingly, under the Franks standard,

defendants are not entitled to an evidentiary hearing on the issue. The Court therefore

denies defendants’ suppression motions to the extent that they are based on alleged

misrepresentations or omissions in the affidavits or the alleged failure of the applicants

to provide a full and complete statement regarding necessity.

       Thus, the hearing on these motions scheduled for January 31, 2011, will not

include evidence or argument relating to compliance with the “full and complete

statement” requirement. The Court anticipates that the hearing may include evidence

and argument relating to the issue of minimization, as raised in defendants’ motions; and

argument relating to the issue of necessity, which the parties agree must be decided from

the face of the applications and wiretap orders.




                                            8
  Case 2:09-cr-20133-JWL         Document 602    Filed 01/04/11       Page 9 of 9




       IT IS THEREFORE ORDERED BY THE COURT THAT defendants’ motions

to suppress wiretap evidence (Doc. ## 351, 361) are denied to the extent based on

material misrepresentations or omissions in the warrant applications, and defendant

Gladstone McDowell’s amended motion to suppress (Doc. # 440) is denied in its

entirety. The scope of the hearing on the remaining issues relating to the motions to

suppress shall be as set forth herein.


       IT IS SO ORDERED.


       Dated this 4th day of January, 2011, in Kansas City, Kansas.


                                                s/ John W. Lungstrum
                                                John W. Lungstrum
                                                United States District Judge




                                          9
